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                            8   Attorneys for Defendant John Francis Porter

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                                                        IN THE UNITED STATES DISTRICT COURT
                           10
                                                            NORTHERN DISTRICT OF CALIFORNIA
                           11
                                                                 SAN FRANCISCO DIVISION
B AKER & H OSTE TLER LLP




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                                UNITED STATES OF AMERICA,                            CASE NO.: 22-CR-270-WHO
     S AN F RANCISCO




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                                               Plaintiff,                            HON. WILLIAM H. ORRICK
                           14
                                        v.                                           DECLARATION OF ROBB C. ADKINS
                           15                                                        IN SUPPORT OF DEFENDANT JOHN
                                JOHN FRANCIS PORTER,                                 FRANCIS PORTER’S MOTIONS IN
                           16                                                        LIMINE
                                               Defendant.
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                           19          1.      I am an attorney licensed to practice law in the State of California. I am a Partner
                           20   at the law firm Baker & Hostetler LLP, counsel for defendant John Francis Porter in this matter. I
                           21   submit this declaration in support of Mr. Porter’s Motions in Limine. I am familiar with and have
                           22   personal knowledge of the pleadings and proceedings in this case and the facts set forth in this
                           23   declaration, and if called upon as a witness thereto, I could testify competently under oath.
                           24          2.      Attached as Exhibit A is a true and correct copy is Recology’s Deferred Prosecution
                           25   Agreement, dated September 9, 2021.
                           26          3.      Attached as Exhibit B is a true and correct copy of the USA Today article by
                           27   Edward Iwata, Debate heats up on Justice’s deferred-prosecution deals, dated May 31, 2006.
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                            1           4.     Attached as Exhibit C is a true and correct copy of the Recology presentation to the
                            2   Department of Justice regarding the Grand Jury subpoena, dated March 19, 2021, filed under seal.
                            3           5.     Attached as Exhibit D is a true and correct copy the email from Mr. David Ward to
                            4   counsel for Mr. Porter, dated April 7, 2023.
                            5           6.     Attached as Exhibit E is a true and correct copy of the email from Mr. Porter to Ms.
                            6   Ann Carey, and its attachment, dated January 8, 2019, and Bates stamped REC-DOJ-0257455, filed
                            7   under seal.
                            8           7.     Attached as Exhibit F is a true and correct copy is the memorandum from Ms. Julia
                            9   Dawson to Mr. Porter, dated March 9, 2020, and Bates stamped CCSF (DPW)-0000163450, filed
                           10   under seal.
                           11           8.     Attached as Exhibit G is a true and correct copy of the email from Ms. Anny Carey
B AKER & H OSTE TLER LLP




                           12   to Ms. Emily Ginsburg, Mr. Garth Schultz, Ms. Claire Wilson, and Ms. Julia Dawson, dated
   A TTORNEYS AT L AW
     S AN F RANCISCO




                           13   January 17, 2020, and Bates stamped US-FBI-RECGJ-00050266.
                           14           9.     Attached as Exhibit H is a true and correct copy of the City of San Francisco’s
                           15   Company complaint against Recology San Francisco, dated March 4, 2021.
                           16           10.    Attached as Exhibit I is a true and correct copy of the Notice of Entry of Consent
                           17   Judgment between the City of San Francisco and Recology, dated July 7, 2021.
                           18           11.    Attached as Exhibit J is a true and correct copy the email from Mr. David Ward to
                           19   counsel for Mr. Porter, dated February 13, 2023.
                           20           12.    Attached as Exhibit K is a true and correct copy of the email from Mr. Paul Giusti
                           21   to Ms. Joela MacDula, dated May 24, 2018, and Bates stamped REC-DOJ-1130957, filed under
                           22   seal.
                           23           13.    Attached as Exhibit L is a true and correct copy of the plea agreement of Mr. Paul
                           24   Giusti, dated July 27, 2021.
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                            1          14.     I declare under the penalty of perjury under the laws of the United States of America
                            2   that the foregoing is true and correct and that this declaration was executed on April 11, 2023, in
                            3   San Francisco, California.
                            4

                            5                                                        /s/ Robb. C. Adkins
                                                                                     Robb C. Adkins
                            6                                                        Counsel for Defendant John Francis Porter

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B AKER & H OSTE TLER LLP




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